Case 1:Ol-cv-02918-SH document 1 Entered on FLSD Docket 07/05/2001 Page 1 of 2__

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

DIVISION
CASE NO ____ C\/ 9USDJ1§SC name)
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ROBERT FORREST _ § § w A HSM!TH ‘.;'§\. 'g-'i
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ALCOHOLICS ANONYMO"S -w

PO BOX 459,GRAND CENTRAL
STA. NEW YORK,NY 10163

 

 

 

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Defendant($)

vORIGINAL COMPLAINT
CAUSE: INVOLUNTARY SERVITUDE BY INDUCED RADIO HYPNOTIC INTRA CEREBRAL

CONTROL (MIND CONTROL) BY ALCOHOLICS ANONYMOUS: IN DIRECT
VIOLATION OF AMENDMENT XIII, BILL OF RIGHTS, U.S. CONSTITUTIONAL
LAW:THIS IS FORBIDDEN UNDER UNDER U.S. CONSTITUTIONAL LAW
AND REQUIRES LEGAL REDRESS BY THE FEDERAL COURT SYSTEM.

THAT THE FOLLOWING WILL TESTIFY UNDER OATH: THE TRUTH OF

THIS SLAVERY CAUSED BY ALCOHOLICS ANONYMOUS ET AL:

ROBERT GRANDCHAMP RUSSELL SPATZ SAMUEL SMITH BUTLER WAUGH
DAVID ANDERSON JOHN KIERNAN K.DOUGHERTY JACK MORTON
ROBERT WATERS JR STEPHANIE GOPHER ROBERT FORREST

 

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M. Po Box 459,GRAND cENTRAL STA
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ROBERT FORREST (PRO SE) 561-547-3231 'O';;-' Y'; `;

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VIOLATION AMENDMEND XIII,BILL OF RIGHTS,U.S. CONSTITUTIONAL LAW:
INVOLUNTARY SERVITUDE BY RADIO HYPNOTIC INTRA CEREBRAL CON'I'ROL

 

 

 

 

 

 

 

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